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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

EDDIE L. BOLDEN,                              )
                                              )
                       Plaintiff,             )                Case No. 17 C 00417
                                              )
               vs.                            )                Honorable Steven C. Seeger
                                              )
ANGELO PESAVENTO, et al.,                     )
                                              )
                       Defendants.            )

                       PLAINTIFF’S SUPPLEMENTAL STATEMENT
                     REGARDING HIS CERTIFICATE OF INNOCENCE

       Plaintiff Eddie L. Bolden respectfully submits this Supplemental Statement Regarding His

Certificate of Innocence in response to certain statements made by defense counsel at the

October 6, 2021 Pre-trial Hearing.

       Having had their Motion in Limine No. 8 to bar reference to Plaintiff Eddie Bolden’s

Certificate of Innocence denied, Defendants now seek to minimize and mischaracterize to the jury

the import of Plaintiff’s Certificate of Innocence by arguing in opening statements (and

presumably throughout trial) that a Certificate of Innocence is merely a “procedural remedy by

which an individual that was let out of prison can get money from the state.” In particular, defense

counsel represented that she intends to represent to the jury that Certificate of Innocence is a

vehicle to get this procedural remedy, not a referendum on a person’s innocence. This is a

barefaced distortion of the law and should not be permitted.

       The Illinois statute that sets forth the authority and process for issuance of a Certificate of

Innocence explicitly requires that a Certificate of Innocence only be issued upon a determination

made upon a preponderance of the evidence that the petitioner, among other factors, is innocent of

the offenses charged. See 735 ILCS 5/2-702(g)(3). Contrary to defense counsel’s proposed
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characterization, a Certificate of Innocence hearing is a substantive proceeding that results in a

finding of the petitioner’s innocence. The evidentiary hearings required for a court to make a

determination on a petition under 735 ILCS 5/2-702 can involve days or even weeks of testimony,

although in the context of an unopposed application like Mr. Bolden’s, the hearing may be shorter

but nevertheless requires a compelling prima facie showing that the petitioner has satisfied the four

statutory factors entitling him or her to relief. See 735 ILCS 5/2-702(g); see also People v. Hood,

2021 IL App. (1st) 162964, at *6 (March 22, 2021) (finding that although “the proceedings are

adversarial in nature . . . the petitioner need only establish a prima facie case for relief [where]

there is no contrary evidence to rebut [a] well-pleaded petition.”).

        Accordingly, courts in this district that have considered the relevance of Certificates of

Innocence issued under 735 ILCS 5/2-702 in the context of wrongful conviction suits have

regularly held that Certificates of Innocence hearings are substantive proceedings and are later

probative of whether prior criminal proceedings terminated in the recipient’s favor. 1 See, e.g.,

Patterson v. Dorrough, 2012 WL 5381328, at *5 (N.D. Ill. Oct. 31, 2012) (denying summary

judgment on malicious prosecution claim because plaintiff’s subsequent receipt of a certificate of

innocence supported an inference that the proceedings terminated in his favor); Logan v. Burge,

No. 09-cv-05471, ECF No. 423 at 1 (N.D. Ill. Oct. 19, 2012) (“The certificate [of innocence] is

relevant at least to the ‘indicative of innocence’ element of plaintiff’s malicious prosecution

claim.”). In Walker v. White, for example, Judge Shah held that a Certificate of Innocence bears




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  That 735 ILCS 5/2-702(j) provides that “[t]he decision to grant or deny a certificate of
innocence shall be binding only with respect to claims filed in the Court of Claims” and “shall
not have a res judicata effect on any other proceedings” does not signify that a Certificate of
Innocence is purely administrative or only relates to the collection of compensation from the
state. 735 ILCS 5/2-702(j).
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directly on the issue of whether a malicious prosecution plaintiff’s criminal proceedings were

“terminated in his favor”:

       Walker’s Certificate of Innocence is not irrelevant—to obtain it, he had to prove
       his innocence by a preponderance of the evidence. Illinois courts have held that the
       statute requires a finding of actual innocence, as opposed to a finding of not guilty
       or insufficient evidence. … The statute also provides, however, that “[t]he decision
       to grant or deny a certificate of innocence … shall not have a res judicata effect on
       any other proceedings.” 735 ILCS 5/2-702(j). … [T]he defendants argue that § 2-
       702(j) makes Walker’s Certificate of Innocence irrelevant to his malicious
       prosecution claim. But the statute only states that the certificate does not have a res
       judicata effect on any other proceedings—it does not bar its evidentiary use or
       relevance in later proceedings.

Walker v. White, No. 16 CV 7024, 2017 WL 2653078, at *5 (N.D. Ill. June 20, 2017).

       Indeed, in denying Defendants’ Motion in Limine No. 9, this Court has also already

acknowledged the substantive nature of the COI proceedings and the relevance of the findings

from such proceedings here:

       Under the statute, one of the requirements for the issuance of a certificate of
       innocence is a finding, by a preponderance of the evidence, that the “petitioner is
       innocent of the offense charge.” See 735 ILCS 5/2-702(g); see also Harris v. City
       of Chicago, 2018 WL 2183992, at *3 (N.D. Ill. 2018) (“Plaintiff’s certificate is
       relevant and admissible to demonstrate that Plaintiff’s underlying criminal
       proceedings were terminated in her favor in relation to her malicious prosecution
       claim . . . . “) (St. Eve, J.).

Dkt. 467 at 26.

       Notwithstanding the clear weight of authority recognizing the substantive nature and

probative value of a Certificate of Innocence, Defendants seize upon language in 735 ILCS 5/2-

702(a) providing that issuance of a Certificate of Innocence under Illinois law allows the recipient

to seek statutory compensation in the state’s Court of Claims. But eligibility for monetary

compensation from the state of Illinois is not the sole, or even primary, purpose of a Certificate of

Innocence. As set forth clearly in 735 ILCS 5/2-702, issuance of a COI triggers the expungement

of the petitioner’s arrest and court records relating to the case at issue. See 735 ILCS 5/2-702(h).


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Perhaps more importantly, and as set forth in the statute’s introductory paragraph, the Certificate

of Innocence process aims to rectify the “misleading . . . current legal nomenclature which compels

an innocent person to seek a pardon for being wrongfully incarcerated,” 735 ILCS 5/2-702(a),

meaning it provides a small measure of conceptual justice to a person who was wrongfully

convicted, even though actually innocent.

        Defense counsel cannot be permitted to mischaracterize the law and statutory process by

which a Certificate of Innocence is granted under Illinois law. Claiming that it is an administrative

process to collect money with no relevance to actual innocence distorts the statute’s language and

does violence to the spirit of the statute. Defendants’ false and highly prejudicial proposed

arguments and testimony should be precluded. 2

                                         CONCLUSION

        For the foregoing reasons, Plaintiff Eddie L. Bolden respectfully asks this Court to preclude

Defendants from referencing or alluding to his receipt of statutory payments as a result of his

Certificate of Innocence.


Dated: October 6, 2021                                Respectfully Submitted,

                                                      /s/ Ronald S. Safer
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 At the October 6, 2021 Pre-trial Hearing, defense counsel argued the challenged argument should
be allowed in opening statements based on their proffer that an Assistant State’s Attorney
(presumably Linda Walls, who appears on Defendants’ trial witness list) will testify that a
Certificate of Innocence proceeding is a vehicle to get a procedural remedy. Such testimony would
constitute either an improper misstatement of the law, or improper opinion testimony under
Federal Rules of Evidence 701 and 702. In either event, it too should be precluded.
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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 6, 2021, I caused the foregoing document to be

electronically filed using the CM/ECF system, which will send notice of this filing to all counsel

of record.

                                                    /s/ Valerie Brummel
                                                    Valerie Brummel




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